                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

Winn-Dixie Stores, Inc. and
Bi-Lo Holdings, LLC,

        Plaintiffs,

v.
                                                    Case No. 3:15-cv-01143-J-39PDB
Southeast Milk, Inc., et al.,

      Defendants.
_______________________________/

        PLAINTIFFS’ NOTICE OF PUBLIC RECORD FILING OF PLAINTIFFS’
        MOTION TO EXCLUDE OR LIMIT THE OPINIONS OF DEFENDANTS’
        EXPERTS AND SUPPORTING MEMORANDUM OF LAW EXCEPT FOR
         EXHIBIT 11 AND WITHDRAWAL OF MOTION TO SEAL (DOC. 195)

        Plaintiffs, Winn-Dixie Stores, Inc. and Bi-Lo Holdings LLC (“Plaintiffs”), hereby give

notice of filing in the public record of this case Plaintiff’s Motion to Exclude or Limit the

Opinions of Defendants’ Experts and Supporting Memorandum of Law (“Plaintiffs’ Daubert

Motion”), including all exhibits except for Exhibit 11, and of the withdrawal of Plaintiffs’

Motion to Seal previously filed by Plaintiffs and directed at sealing the entirety of Plaintiffs’

Daubert Motion because it is now moot for the reasons identified herein, and state:

        1.      On August 20, 2018, pursuant to Fed. R. Civ. P. 26(c) and Local Rule 1.09 of the

Local Rules of this Court, Plaintiffs filed and served Plaintiffs’ Motion to Seal (Doc. 195)

requesting to seal Plaintiffs’ contemporaneous Daubert Motion and its exhibits because they

contained information confidential or highly confidential information so designated by

Defendants pursuant to the terms of the Parties’ Stipulated Confidentiality Agreement. See Doc.

195 at 1.
       2.       On September 4, 2018, Defendants responded to the Motion to Seal by filing their

“Partial Opposition to [Plaintiffs’] Motion to Seal and Request that Exhibit 11 [to Plaintiffs’

Daubert Motion] Be Modified and Redacted” (Doc. 202). Therein, Defendants stated that they

did not oppose the filing in the public record (i.e., not under seal) of any of the contents of

Plaintiffs’ Daubert Motion and exhibits except for Exhibit 11 to the Daubert Motion, which they

contended contains confidential information. See Doc. 202 at 2-3.

       3.       On September 11, 2018, Defendant DFA filed an Emergency Joint Motion to

Strike or Seal Exhibits 6, 7, and 27 of Plaintiffs’ Opposition to Defendants’ Motion to Exclude

the Opinions of Dr. Connor (Doc. 207) Pending Briefing on Sealing (Doc. 209) (the “Emergency

Motion”) to which Plaintiffs filed their Response to and Clarification of Defendant DFA’s

Emergency “Joint” Motion to Strike or Seal (Doc. 210) on September 12, 2018. In response to

these filings, the Court entered an Order granting the Emergency Motion and directing the Clerk

“to provisionally place under seal Docs. 207-7 [Exhibit 6], 207-8 [Exhibit 7], and 207-28

[Exhibit 27]” (Doc. 213) (the “Order”). Pursuant to the Court’s Order, the Clerk placed Doc.

207-7, 207-8, and 207-28 under seal and these documents remain provisionally sealed in the

Court record.

       4.       On September 28, 2018, pursuant to the Court’s Order, Defendant DFA filed a

“Motion to Seal Exhibits 6, 7, and 27 to Plaintiffs’ Opposition to Defendants’ Motion to Exclude

the Opinions of Dr. Connor” (Doc. 218) (“Motion to Seal Exhibits 6, 7, and 27”), seeking to seal

three (3) exhibits attached to Plaintiffs’ Opposition to Defendants’ Motion to Exclude the

Opinions of Dr. Connor (“Plaintiffs’ Opposition to Defendants’ Daubert Motion”) (Doc. 207).

On October 12, 2018, Plaintiffs timely filed their Response to Defendant DFA’s Motion to Seal




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Exhibits 6, 7, and 27. (Doc. 221). Thus, Defendant DFA’s Motion to Seal Exhibits 6, 7, and 27

is now before the Court for consideration.

       5.      Exhibit 27 (Doc. 207-28) that is the subject of Defendant DFA’s Motion to Seal

Exhibits 6, 7, and 27 is the same identical document that Plaintiffs attached as Exhibit 11 to

Plaintiffs’ Daubert Motion that is also the subject of Plaintiffs’ pending Motion to Seal. See

Doc. 195. Currently, Exhibit 27 has been provisionally sealed by the Court pursuant to the Order

(Doc. 213) and is the subject of Defendant DFA’s Motion to Seal Exhibit 6, 7, and 27 and

Plaintiffs’ Response thereto. See Doc. 218 & Doc. 221.

       6.      Because Exhibit 27 of Plaintiffs’ Daubert Opposition and Exhibit 11 of Plaintiffs’

Daubert Motion are the same document and Exhibit 27 is provisionally under seal pending an

Order on Defendant DFA’s Motion to Seal Exhibits 6, 7, and 27, the remainder of Plaintiffs’

Daubert Motion other than Exhibit 11 can be publicly filed as Defendants have stated on the

record that they only seek confidentiality protection as to the contents of Exhibit 11 and not any

other text or exhibits constituting Plaintiffs’ Daubert Motion. Furthermore, Plaintiffs’ Motion to

Seal is now moot as a result and because the confidentiality protection as to Exhibit 11 will be

resolved when the Court rules upon Defendant DFA’s Motion to Seal Exhibits 6, 7, and 27 (Doc.

218) can be withdrawn.

       WHEREFORE, Plaintiffs hereby give notice of the following: (i) the filing in the public

record of this case of Plaintiffs’ Daubert Motion and exhibits, except that Exhibit 11 of

Plaintiffs’ Daubert Motion shall not be so filed but a cover page shall be inserted noting that the

confidentiality of said exhibit is under review by the Court; and, (ii) Plaintiff’s withdrawal of its

prior Motion to Seal (Doc. 195) directed at sealing the entirety of Plaintiffs’ Daubert Motion and

exhibits because it is now moot under the present circumstances.



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Respectfully submitted October 19, 2018.


                                              /s/ H. Timothy Gillis
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                                              Attorneys for Plaintiffs Winn-Dixie
                                              Stores, Inc., and Bi-Lo Holdings, LLC


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 19, 2018 I electronically filed the foregoing with

the Clerk of Court pursuant to the Administrative Procedures for Electronic Filing in Civil and

Criminal Cases of this Court by using the CM/ECF System, which will send a notice of

electronic filing to all counsel of record.

                                              /s/ H. Timothy Gillis
                                              Attorney




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